          Case 1:24-mj-01365-DLC Document 73 Filed 07/17/24 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


IN THE MATTER OF                              )
THE EXTRADITION OF                            )               No. 24-mj-01365-DLC
EYLEM TOK                                     )

                         GOVERNMENT’S EXHIBIT 1
               TO AMENDED COMPLAINT AS TO EYLEM TOK (Dkt. 54)

       The United States of America hereby files a redacted copy of Exhibit 1 to the Amended

Complaint as to Eylem Tok (Dkt. 54). Because of the file size, the government has broken

Exhibit 1 into four parts (A, B, C, and D).

                                                      Respectfully submitted,

                                                      JOSHUA S. LEVY
                                                      Acting United States Attorney


                                              By:     /s/ Kristen A. Kearney
                                                      KRISTEN A. KEARNEY
                                                      Assistant U.S. Attorney

Date: July 17, 2024




                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                                      /s/ Kristen A. Kearney
                                                      KRISTEN A. KEARNEY
                                                      Assistant U.S. Attorney
